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                                                                                     MEMO ENDORSED


                                                                  January 11, 2021


     Hon. Sidney H. Stein
     United States District Judge
     Southern District of ew York
     500 Pearl Street
     New York, New York 10007

                                    Re: United States v. Leyvi Castillo
                                        Ind. No. 18 Cr. 879 (SHS)

     Dear Judge Stein:

             This letter is respectfully submitted to request that the sentencing proceeding currently
     scheduled for January 21, 2021 be adjourned to a date in mid-March that may b convenient to
     the Court. Mr. Castillo is not in custody. As your Honor is aware the courthouse continues to be
     closed through mid-February pursuant to the First Amended Order of the Chief Judge dated
     January 5, 2021 resulting from the continuing epidemic. Mr. Castillo should be able to
     physically appear in court for this important proceeding. The government consents to this
     request. Thank you for your consideration of this matter.




                                                                  Michael H. Sporn



     :MIIS/ss
     Cc: Daniel Nessim, Esq.

          The sentencing is adjourned to March 18, 2021, at 11:00 a.m. The defendant's sentencing submission
          is due by February 25, 2021, the government's submission is due by March 4, 2021.

          Dated: New York, New York
                 January 11, 2021
